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FILED

IN THE UNITED STATES DISTRICT COURT NOV 1 4 2016
FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District & Bankruptcy

Chelsea E. MANNING
1300 North Warehouse Road,

Fort Leavenworth, KS 66027-2304,

Plaintiff,
V.

The Honorable James R. CLAPPER,
Director of National Intelligence,
725 17th Street NW,
New Executive Office Building,
Washington, DC 20503,

The Honorable Loretta E. LYNCH,
Attorney General,
950 Pennsylvania Avenue NW,
Washington DC 20530,

U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Avenue NW,
Washington DC 20530,

The Honorable James B. COMEY,
Director,
Federal Bureau of Investigation,
935 Pennsylvania Avenue NW,
Washington, DC 20535

FEDERAL BUREAU OF INVESTIGATION,

935 Pennsylvania Avenue NW,
Washington, DC 20535,

The Honorable Ashton B. CARTER,
Secretary of Defense,
1000 Defense Pentagon,
Washington, DC 20301-1000

U.S. DEPARTMENT OF DEFENSE,
1400 Defense Pentagon,
Washington, DC 20301-1400

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Courts for the District of Columbla

Case: 1:16-cv—-02307

Assigned To : Cooper, Christopher R.
Assign. Date : 11/14/2016
Description: Pro Se Gen. Civil
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Admiral Michael T. ROGERS,
Director, National Security Agency,
Chief, Central Security Service,
Commander, U.S. Cyber Command,
9800 Savage Road,
Fort Meade, MD 20755-6000,

NATIONAL SECURITY AGENCY,
9800 Savage Road,
Fort Meade, MD 20755-6000,

UNITED STATES of AMERICA,
Defendants.

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COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

1, This is an action filed by Plaintiff Chelsea E. Manning seeking declaratory and
injunctive from Defendants. Plaintiff was subjected clandestine and intrusive electronic
surveillance and physical searches, including computer network exploitation and a simulated
terrorist attack, kidnapping, and hostage situation, conducted by Defendants. She brings this
action seeking redress for being subjected to multiple violations of the U.S. Constitution which
were initiated by the Defendants.

NATURE OF ACTION

2. This action seeks declaratory and injunctive relief to redress Defendants’
applications and execution of orders approved by the Foreign Intelligence Surveillance Court.

3, Defendants have violated the U.S. Constitution by violating Plaintiff's rights to
freedom of speech, freedom of association, to petition the government for redress, to be secure
against unreasonable searches and seizures, due process, and to have cruel and unusual

punishments inflicted.
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4. Defendants conducted clandestine and intrusive electronic surveillance and
physical searches involving the Plaintiff without valid grounds or reasonable probable cause.
Defendants also used unorthodox means to conduct electronic surveillance and physical searches
involving the Plaintiff, including computer network exploitation of personal computers and
handheld communication devices, and simulating a terrorist attack, kidnapping, and hostage
situation.

JURISDICTION

5, This Court has subject matter jurisdiction for this action pursuant to 28 U.S.C. §
1331, because this complaint arises under the U.S. Constitution.

6. The request for declaratory relief is made pursuant to 28 U.S.C. § 2201, due to an
actual controversy existing between Plaintiff and Defendants over rights guaranteed by the U.S.
Constitution.

7. This Court also has personal jurisdiction over each of the Defendants, all of whom
are sued acting in their official capacities.

VENUE

8. Venue for this action is proper in this district pursuant to 28 U.S.C. §
1391(e)(1)(A) because at least one of the Defendants in this action officially resides in this
district and, pursuant to 28 U.S.C. § 1391(e)(1)(B), because a substantial part of the acts or
omissions in the Plaintiff's claim occurred in this district.

PARTIES

9. Plaintiff Chelsea E. Manning is a U.S. citizen. She is a former member of the

U.S. Intelligence Community (IC) and a former intelligence analyst for the U.S. Army under

Defendant Department of Defense.
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10. Defendant James R. Clapper is the Director of National Intelligence (DNI.
Director Clapper serves as the head of the U.S. Intelligence Community (IC), acts as President of
the National Security Council and Homeland Security Council for intelligence matters related to
national security, and oversees and directs the National Intelligence Program pursuant to 50
U.S.C. § 3023(b). He is responsible for the IC and its compliance with federal law, and
regulations promulgated under such laws, including the laws at issue in this action. He is made a
party to this action pursuant to F.R. Civ. P. Rule 4(i) acting in his official capacity as the DNI.

11. Defendant Lorretta E. Lynch is the U.S. Attorney General. Attorney General
Lynch serves as the head of the Department of Justice (DoJ) pursuant to 28 U.S.C. § 503. She is
responsible for the DoJ and its components and agencies, and their compliance with federal law,
and regulations promulgated under such laws, including the laws at issue in this action. She is
made a party to this action pursuant to F.R. Civ. P. Rule 4(i) acting in her official capacity as the
Attorney General.

12. Defendant Department of Justice is an Executive Department of the U.S.
government pursuant to 28 U.S.C. § 501.

13. Defendant James B. Comey is the Director of the Federal Bureau of Investigation
(FBI). Director Comey serves as the head of Defendant Federal Bureau of Investigation
pursuant to 28 U.S.C. § 532. He is responsible for the FBI and its compliance with federal law,
and regulations promulgated under such laws, including the laws at issue in this action. He is
made a party to this action pursuant to F.R. Civ. P. Rule 4(i) acting in his official capacity as the
Director of the FBI.

14. Defendant Federal Bureau of Investigation is a component of Defendant

Department of Justice pursuant to 28 U.S.C. § 532. The FBI is the investigative component of
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the DoJ. The FBI conducts and oversees domestic intelligence collection, investigations,
analysis, and counterintelligence operations.

15. | Defendant Ashton B. Carter is the Secretary of Defense. Secretary Carter is the
head of Defendant Department of Defense pursuant to 10 U.S.C. § 113. Secretary Carter has
authority, direction, and control over the DoD pursuant to 10 U.S.C. § 113(b). He is responsible
for the DoD and its military departments, components and agencies, and their compliance with
federal law, and regulations promulgated under such laws, including the laws at issue in this
action. He is made a party to this action pursuant to F.r. Civ. P. Rule 4(i) acting in his official
capacity as Secretary of Defense.

16. Defendant Department of Defense is an Executive Department of the U.S.
government pursuant to 10 U.S.C. § 111. The DoD oversees and conducts operations in support
of the national defense for the U.S. government. The DoD consists of several military
departments, components and agencies, including the NSA, CSS, and CYBERCOM.

17. Defendant Admiral Michael T. Rogers is the Director of the National Security
Agency (NSA), the Chief of the Central Security Service (CSS), and Commander U.S. Cyber
Command (CYBERCOM). Admiral Rogers is the head of Defendant National Security Agency
pursuant to 50 U.S.C. § 3602. He is also the Commander of CYBERCOM under Defendant
Department of Defense. He is responsible for the NSA, CSS, and CYBERCOM, and their
compliance with federal law, and regulations promulgated under such laws, including the laws at
issue in this action. He is made a party to this action pursuant to F.r. Civ. P. Rule 4(4) acting in
his official capacity as Director of the NSA, the Chief of the CSS, and Commander of

CYBERCOM.
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18. Defendant National Security Agency is a component of Defendant Department of
Defense pursuant to 50 U.S.C. § 3601. The NSA conducts signal and electronic intelligence
collection, and provides cryptography and cryptanalysis services for the U.S. government.

19. Defendant United States of America is made a party to this action pursuant to 5
US.C. § 702.

FACTUAL ALLEGATIONS
Background of the Plaintiff

20. Plaintiff was born in the United States, and is a citizen of the United States by
natural birth. Therefore, she is considered a “U.S. person pursuant to 50 U.S.C. § 1801(4).

21. Plaintiff is a former member of the IC. She was an all source intelligence analyst
for the U.S. Army.

22. ~~ Plaintiff operated in an official capacity under the authority of Defendant
Department of Defense provided by section 1.7.(f) of Executive Order 12333 and the National
Security Act of 1947 as amended, 50 U.S.C. § 3001 ef seg., between August 2008 and May
2010.

23. Plaintiff was granted a TOP SECRET/Sensitive Compartmentalized Information
(TS/SCI) security clearance by Defendant Department of Defense between January 2009 and
May 2010.

24. ‘Plaintiff deployed to Baghdad, Iraq in October 2009, serving as an intelligence
analyst in various capacities for Defendant Department of Defense. She regularly utilized her

TS/SCI clearance with daily, routine access to records in support of her position.
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25. Plaintiff has intimate knowledge and experience with the application process and
execution of the provisions of section 1.7.(f) of Executive Order 12333 and the Foreign
Intelligence Surveillance Act of 1978 (FISA), 50 U.S.C. § 1801 et seq.

26. Plaintiff was ordered into confinement on May 27, 2010 by the U.S. Army and
Defendant Department of Defense for numerous offenses related unlawful disclosure of
information.

27. Plaintiff was brought before a trial by general court-martial on June 3, 2013. She
was acquitted of charges in part, and convicted of charges in part on July 30, 2013. She was
sentenced to serve thirty-five years in prison on August 21, 2013.

28. Plaintiff was transferred to the U.S. Disciplinary Barracks (USDB), a joint
military prison in Fort Leavenworth, Kansas, on August 22, 2013. She currently remains
incarcerated at the USDB, and in the custody of Defendant Department of Defense.

29. Plaintiff petitioned for a legal name change before the District of Leavenworth
County, Kansas. Her petition was granted and her name was changed from Bradley Edward
Manning to Chelsea Elizabeth Manning on April 23, 2014.

30. Plaintiff maintains limited access to classified information under a security
clearance pursuant to the Classified Information Procedures Act of 1980, 18 U.S.C. Appx. IV § 1
et seq.

31. Plaintiff is not an agent of a foreign power as defined by § 101(b)(2) of FISA, 50
U.S.C. § 1801(b)(2).

32. Plaintiff is an aggrieved person as defined by § 101(k) of FISA, 50 U.S.C. §

1801(k).
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Background of the Foreign Intelligence Surveillance Act

33. The Foreign Intelligence Surveillance Act of 1978 (FISA) as amended, 50 U.S.C.
§§ 1801 et seg., established a special court system to review applications submitted ex parte by
the U.S. government for orders relating to the collection of foreign intelligence, both
domestically and abroad, by different clandestine or covert means.

34. Pursuant to § 103(a)(1) of FISA, 50 U.S.C. § 1803(a)(1), the Foreign Intelligence
Surveillance Court (FISC) is composed of 11 district court judges chosen by the Chief Justice of
the U.S. Supreme Court from at least seven different judicial circuits.

35. | The FISC can review any applications by the U.S. government involving U.S.
citizens that are identified as agents of a foreign power under § 101(b)(2) of FISA, 50 U.S.C. §
1801(b)(2).

36. An appellate court, the Foreign Intelligence Surveillance Court of Review
(FISCR) is established under § 103(a)(2) of FISA, 50 U.S.C. § 1803(a)(2). FISCR reviews
decisions by the FISC judges that are appealed ex parte by the U.S. government for any
applications that are denied.

Electronic Surveillance under Title I of FISA

37. Under Title I of FISA, 50 U.S.C. §§ 1801 e¢ seg., electronic surveillance has four
related definitions under § 101(f) of FISA, 50 U.S.C. § 1801(f). However these definitions
generally cover only passive methods of collecting foreign intelligence information by electronic
means.

38. Applications for electronic surveillance submitted under Title I of FISA, 50
U.S.C. §§ 1801 ef seg., require an officer of the U.S. government to provide the identity, if

known, or a description of a specific target under § 104(a)(2) of FISA, 50 U.S.C. § 1804(a)(2).
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39. Additionally, applications for electronic surveillance require a senior U.S.
government official, under of § 104(a)(6) of FISA, 50 U.S.C. § 1804(a)(6), to specify one of the
types of foreign intelligence information being sought in § 101(e) of FISA, 50 U.S.C. § 1801(e).

40. The certifying official for the application must also state under § 104(a)(6) of
FISA, 50 U.S.C. § 1804(a)(6), also that a significant purpose of seeking the information sought is
to obtain foreign intelligence information, and that such information cannot reasonably obtained
by normal investigative techniques.

41. Lastly, pursuant to § 104(d) of FISA, 50 U.S.C. § 1801(d), the application must
be subjected to a personal review by either Defendant Attorney General Lynch, or on her behalf
by the Acting Attorney General, the Deputy Attorney General, or the Assistant Attorney General
for National Security.

42. Assistant Attorney General John P. Carlin is the current Assistant Attorney
General for National Security, as specified under 28 U.S.C. § 507A, who normally acts as the
certifying official under § 104(d) of FISA, 50 U.S.C. § 1801(d), on behalf of Defendant Lynch.

43. Normally, after review by the FISC, an order is issued by the FISC judge
approving the electronic surveillance under § 105 of FISA, 50 U.S.C. § 1805.

44. Pursuant to § 105(a)(2)(A) of FISA, 50 U.S.C. § 1805(a)(2)(A), the FISC order
provides findings that there is probable cause to believe that the target of the electronic
surveillance is a foreign power or an agent of a foreign power as defined by § 101(b) of FISA, 50
U.S.C. § 1801(b).

45. | However, no U.S. person as defined by § 101(i) of FISA, 50 U.S.C. § 1801(i),

should be considered for electronic surveillance under § 105(a)(2)(A) of FISA, 50 U.S.C. §
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1805(a)(2)(A), as a foreign power or an agent of a foreign power as defined by § 101(b) of FISA,
50 U.S.C. § 1801(b), for activities protected by the First Amendment of the U.S. Constitution.

46. Orders for electronic surveillance shall provide the duration of the order for any
period necessary to execute the order up to 90 calendar days under § 105(d)(1) of FISA, 50
U.S.C. § 1805(d)(1).

47. Pursuant to § 106(f) of FISA, 50 U.S.C. § 1806(f), when an approved order for
electronic surveillance is challenged by an aggrieved person as defined by § 101(k) of FISA, 50
U.S.C. § 1801(k), any information obtained by, or contained within, the application and order
can be ordered by a U.S. district court to be submitted ex parte and reviewed in camera.

Physical Searches under Title III of FISA

48. Under Title II of FISA, 50 U.S.C. §§ 1821 et seq., a physical search is defined by
§ 301(5) of FISA, 50 U.S.C. § 1821(5), as any physical intrusion within U.S. territory into
locations that result in a seizure, reproduction, inspection, or alteration of information, material,
or property.

49. Each application for a physical search submitted under Title III of FISA, 50
U.S.C. §§ 1821 et seg., requirse an officer of the U.S. government to provide the identity, if
known, or a description of a specific target under § 303(a)(2) of FISA, 50 U.S.C. § 1823(a)(2).

50. Additionally, applications for physical searches require a senior U.S. government
official, under of § 303(a)(6) of FISA, 50 U.S.C. § 1823(a)(6), to specify one of the types of
foreign intelligence information being sought in § 101(e) of FISA, 50 U.S.C. § 1801(e).

51. The certifying official for the application for a physical search must also state

under § 303(a)(6) of FISA, 50 U.S.C. § 1823(a)(6), that a significant purpose of the application

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is to obtain foreign intelligence information, and that such information cannot reasonably
obtained by normal investigative techniques.

52. Lastly, pursuant to § 303(d) of FISA, 50 U.S.C. § 1823(d), the application for a
physical search must be subjected to a personal review by either Defendant Attorney General
Lynch, or on her behalf by the Acting Attorney General, the Deputy Attorney General, or the
Assistant Attorney General for National Security.

53. After a review by the FISC, an order is typically issued by the FISC judge
approving the physical search under § 304 of FISA, 50 U.S.C. § 1824.

54. Pursuant to § 304(a)(2)(A) of FISA, 50 U.S.C. § 1824(a)(2)(A), the FISC order
provides findings that there is probable cause to believe that the target of the physical search is a
foreign power or an agent of a foreign power as defined by § 101(b) of FISA, 50 U.S.C. §
1801(b).

55. U.S. persons, as defined by § 101) of FISA, 50 U.S.C. § 1801G), may not be
considered for physical searches under § 304(a)(1)(A) of FISA, 50 U.S.C. § 1824(a)(2)(A), as a
foreign power or an agent of a foreign power, as defined by § 101(b) of FISA, 50 U.S.C. §
1801(b), for activities protected by the First Amendment of the U.S. Constitution.

56. Physical search orders should provide the duration for only the period necessary
to execute the order up to 90 calendar days under § 304(d)(1) of FISA, 50 U.S.C. § 1824(d)(1).

57. Pursuant to § 305(g) of FISA, 50 U.S.C. § 1825(g), when an approved order for a
physical search is challenged by an aggrieved person, as defined by § 101(k) of FISA, 50 U.S.C.
§ 1801(k), any information that was obtained by, or contained within, the application and order

can be ordered by a U.S. district court to be submitted ex parte and reviewed in camera.

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Applications under Titles I and III involving the Plaintiff

58. At some point prior to October 3rd, 2016, a lawyer from the National Security
Division (NSD) of Defendant Department of Justice filed applications to the FISC involving the
Plaintiff.

59. The applications submitted by the DoJ were for electronic surveillance and
physical searches involving the Plaintiff under Titles I and Title HI of FISA, 50 U.S.C. §§ 1801
et seq., 1821 et seq.

60. The application involving the Plaintiff were certified pursuant to §§ 104(d) and
303(d) of FISA, 50 U.S.C. §§ 1801(d) and 1823(d), on behalf of Defendant Attorney General
Lynch, by the Assistant Attorney General for National Security, John P. Carlin.

61. | More applications and extensions of approved orders involving the Plaintiff under
both Titles I and III of FISA, 50 U.S.C. §§ 1801 et seq., 1821 et seg., may have been filed since
October 4th, 2016.

62. There still may be more applications and extensions of approved orders submitted
by Defendant Department of Justice and certified by Defendant Attorney General Lynch that
involve the Plaintiff under both Titles I and IIT of FISA, 50 U.S.C. §§ 1801 et seq., 1821 et seq.

63. At least some of the approved orders involving the Plaintiff by FISC based on
applications submitted by Defendant Department of Justice and certified by Defendant Attorney
General Lynch have now been executed in whole and in part.

64. The Plaintiff is not, and has not been, officially notified of any applications or

orders approved or denied by FISC.

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65. The Defendants have violated the Plaintiff's right to due process of law by
submitting applications involving the Plaintiff under both Titles I and Il] of FISA, 50 U.S.C. §§
1801 ef seq., 1821 et seq.

Physical Searches under Title III involving the Plaintiff

66. Beginning on October 3rd, 2016, multiple clandestine physical searches started
being conducted at the U.S. Disciplinary Barracks in Fort Leavenworth, Kansas.

67. These physical searches were approved pursuant to Title III of FISA, 50 U.S.C.
§§ 1821 et seg., by orders, applied for by Defendant Department of Justice and certified by
Defendant Attorney General Lynch, involving the Plaintiff.

68. The physical searches at the U.S. Disciplinary Barracks involving the Plaintiff
were conducted by some officials under Defendant Department of Defense, and some officials
under Defendant Federal Bureau of Investigation.

69. The physical searches involving the Plaintiff were conducted under a cover story.

70. The cover story for the physical searches involving the Plaintiff began with the
loss of a tool, specifically a chisel, from a toolbox near Plaintiff's work area in the U.S.
Disciplinary Barracks Vocational Wood Shop.

71. This cover story allowed the Defendants Department of Defense and Federal
Bureau of Investigation to intensively search multiple prisoners’ cells at a rate far above the
standard operating procedure for the prison.

72. The physical search involving the Plaintiff, included the Plaintiffs cell, O-227, at
the U.S. Disciplinary Barracks.

73. Multiple items were taken during the physical search involving the Plaintiff.

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74. The items taken during the physical search involving the Plaintiff included three
used spoons, a used comb, and a conventional non-scientific calculator.

75. The Defendants violated the Plaintiffs right to be free from unreasonable
searches and seizures by taking Plaintiff's items from her cell under the FISC order approved
pursuant to Title II] of FISA, 50 U.S.C. §§ 1821 et seq.

76. The Defendants also violated the Plaintiffs right to due process of law by taking
Plaintiff's items from her cell under the FISC order approved pursuant to Title III of FISA, 50
U.S.C. §§ 1821 et seq.

77. Another physical search involving the Plaintiff occurred on October 10" and 11",
2016.

78. | The physical search involving the Plaintiff conducted on at approximately 6:00
P.M. through 8:00 A.M. on October 10" and 11", 2016.

79. The physical search involving the Plaintiff involved multiple federal agents from
the Counterespionage Unit (CES) of the Washington Field Office (WFO) for Defendant Federal
Bureau of Investigation.

80. The physical search involving the Plaintiff was supervised by at least one lawyer,
Deborah Curtis, from the Counterespionage Section of NSD under Defendant Department of
Justice.

81. The cover story for this physical search involving the Plaintiff was a simulated
terrorist attack and prison breakout for the Plaintiff at the U.S. Disciplinary Barracks.

82. Multiple undercover federal agents for the WFO conducted the simulated terrorist

attack, and enticed the Plaintiff to escape from her prison cell.

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83. The situation evolved into a kidnapping and hostage situation after Plaintiff
refused to cooperate with the undercover agents for Defendant Federal Bureau of Investigation.

84. This cover story for this physical search involving the Plaintiff would allow
Defendant Federal Bureau of Investigation to physically obtain, modify and alter any
information it sought from the Plaintiff and her cell.

85. | However, no information was obtained from this physical search involving the
Plaintiff, as she did not cooperate with the cover story.

86. Plaintiff suffered severe physical illness inflicted by the Defendants during the
physical search.

87. Plaintiff also suffered severe psychological and emotional injury by the
Defendants during the physical search.

88. Defendants violated the Plaintiff's right to be free from cruel and unusual
punishments by conducting this physical search.

89. Yet another physical search involving the Plaintiff and an associate occurred at
approximately 9:45 P.M. to 10:00 P.M. on November 3° 2016.

90. This physical search occurred while Plaintiff was having a _ telephonic
conversation with her associate.

91, The Plaintiff’s associate was using a personal handheld device, or “smart phone,”
to communicate with the Plaintiff.

92. | The physical search involving the Plaintiff and her associate occurred during
electronic surveillance approved under Title I of FISA, 50 U.S.C. §§ 1801 ef seq.

93. The physical search involving the Plaintiff and her associate occurred consisted of

an electronic intrusion using computer network exploitation (CNE), or “hacking,” methods

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conducted by Defendants Secretary Carter, Department of Defense, Admiral Rogers, National
Security Agency, Director Comey, and Federal Bureau of Investigation.

94. |The CNE methods employed by Defendants under the approved physical search
interfered with the Plaintiff and her associate’s phone call.

95. The unconventional termination of the phone call by the Defendants during the
physical search involving the Plaintiff caused the Plaintiff and her associate psychological and
emotional injury

96. Plaintiff and her associate have had their right to freedom of speech and freedom
of association interfered with by the Defendants.

97. It is unclear whether the approved orders for physical searches involving the
Plaintiff have been fully executed, or have expired.

98. It is very likely that more applications for physical searches involving the Plaintiff
will be filed by Defendant Department of Justice, and certified by Defendant Attorney General
Lynch, and approved by the FISC under Title III of FISA, 50 U.S.C. §§ 1821 et seg.

99. Such future applications and orders for physical searches involving the Plaintiff
will likely be executed by the Defendants.

Electronic Surveillance under Title I involving the Plaintiff and her Associates

100. Beginning some time before October 3", 2016, the Defendants have conducted
electronic surveillance on the Plaintiff, her associates, and the U.S. Disciplinary Barracks as a
whole.

101. The electronic surveillance was approved pursuant to Title I of FISA, 50 U.S.C.
§§ 1801 et seg., by orders, applied for by Defendant Department of Justice and certified by

Defendant Attorney General Lynch, involving the Plaintiff.

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102. The electronic surveillance involving the Plaintiff has consisted of all four passive
electronic surveillance means under § 101(f) of FISA, 50 U.S.C. § 1801(f.

103. This electronic surveillance has extended to dozens, and possibly hundreds of
people physically near, associated with, or in communication with the Plaintiff.

104. The electronic surveillance involving the Plaintiff has included the use of passive
signals intelligence platforms that were physically located outside the U.S. Disciplinary Barracks
at various times since at least October 3“, 2016.

105. The electronic surveillance involving the Plaintiff has primarily consisted of wire
communications over telephony used by the Plaintiff, and internet locations physically near the
Plaintiff, or used by her associates.

106. The electronic surveillance involving the Plaintiff is being conducted by
technicians and experts provided to Defendants Department of Justice and Federal Bureau of
Investigation by Defendants Secretary Carter, Department of Defense, Admiral Rogers, and
National Security Agency.

107. The electronic surveillance involving the Plaintiff using signal intelligence
platforms physically located at the U.S. Disciplinary Barracks abruptly terminated on October
27", 2016.

108. Between October 26" and October 27", 2016, the Deputy Director of Defendant
Federal Bureau of Investigation acting on behalf of Defendant Director Comey, consulted with
Assistant Attorney General for National Security on behalf of Defendant Attorney General
Lynch, about moving resources from CES and the WFO from Fort Leavenworth, Kansas.

109. The discussion between Deputy Director Andrew McCabe of the FBI and

Assistant Attorney General for National Security John Carlin involved movement of resources

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from investigating and conducting surveillance on the Plaintiff and her associates, to another
high profile investigation into Huma Abedin, an aide to the Presidential candidate Secretary
Hilary Clinton.

110. Since this development, it is unclear whether the approved orders for electronic
surveillance involving the Plaintiff and her associates have been fully executed, or have expired.

111. Plaintiff and her associates have had their rights to freedom of speech and
freedom of association interfered with by the Defendants.

Petition for Redress of Grievances
112. The Defendants have prevented Plaintiff from petitioning the Defendants for a

redress of grievances.

113. The Defendants have prevented Plaintiff from seeking any form of meaningful

redress from the Defendants.

114. Plaintiff has had her right to petition the government for redress violated by the

Defendants.
Exhaustion of Administrative Remedies

115. The Plaintiff has exhausted all available administrative remedies with respect to

all of her claims against the Defendants.
CLAIMS FOR RELIEF
CLAIM I: Violation of First Amendment to the U.S. Constitution (Asserted by Plaintiff
against all Defendants)

116. Plaintiff incorporates by reference all of the allegations of the preceding

paragraphs.

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117. The Plaintiff and her associates are not foreign powers under § 101(b) of FISA,
50 U.S.C. § 1801(b).

118. The Plaintiff and her associates are not agents of a foreign power under §
101(b)(2) of FISA, 50 U.S.C. § 1801(b)(2).

119. The Defendants have targeted the Plaintiff and any person who associates with
Plaintiff with electronic surveillance and physical searches regardless of whether they are not
foreign powers or agents of foreign powers.

120. The Defendants’ targeting of Plaintiff and her associates with electronic
surveillance and physical searches constitute a violation of freedom of speech and of association
under the First Amendment of the Constitution.

121. The Defendants acts and omissions have prevented the Plaintiff from petitioning
the government for a redress of grievances.

122. The Defendants are violating the Plaintiff's right to petition the government for a
redress of grievances.

123. Plaintiff has been irreparably harmed by the Defendants’ acts and omissions.

124. Plaintiff will continue to be irreparably harmed by the Defendants’ act and
omissions.

CLAIM II: Violation of Fourth Amendment to the U.S. Constitution (Asserted by Plaintiff
against all Defendants)

125. Plaintiff incorporates by reference all of the allegations of the preceding
paragraphs.

126. The Plaintiff and her associates are not foreign powers under § 101(b) of FISA,

50 U.S.C. § 1801(b).

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127. The Plaintiff and her associates are not agents of a foreign power under §
101(b)(2) of FISA, 50 U.S.C. § 1801(b)(2).

128. The Defendants have targeted Plaintiff with electronic surveillance and physical
searches regardless of she is a foreign power or agents of a foreign power.

129. The Defendants have no valid bases to argue a reasonable probable cause for any
electronic surveillance or physical searches under Titles I or IIT of FISA, 50 U.S.C. §§ 1801 et
seq., 1821 et seq.

130. The Defendants’ targeting of Plaintiff with electronic surveillance and physical
searches constitute a violation of her right against unreasonable searches and seizures under the
Fourth Amendment of the U.S. Constitution.

131. Plaintiff has been irreparably harmed by the Defendants’ acts and omissions.

132. Plaintiff will continue to be irreparably harmed by the Defendants’ act and
omissions.

CLAIM III: Violation of Fifth Amendment to the U.S. Constitution (Asserted by Plaintiff
against all Defendants)

133. Plaintiff incorporates by reference all of the allegations of the preceding
paragraphs.

134. Defendants have failed to provide any notice to the Plaintiff of any applications or
orders for electronic surveillance or physical searches under Titles I or III of FISA, 50 U.S.C. §§
1801 et seq., 1821 et seq.

135. Defendants have failed to provide any notice to the Plaintiff of any information

obtained or any physical items seized during electronic surveillance or physical searches.

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136. The Defendants’ acts and omissions with regard to not providing any notice to the
Plaintiff with respect to electronic surveillance or physical searches have violated the Plaintiffs
right to due process of law under the Fifth Amendment of the U.S. Constitution.

137. Plaintiff has been irreparably harmed by the Defendants’ acts and omissions.

138. Plaintiff will continue to be irreparably harmed by the Defendants’ act and
omissions.

CLAIM IV: Violation of Eighth Amendment to the U.S. Constitution (Asserted by Plaintiff
against all Defendants)

139. Plaintiff incorporates by reference all of the allegations of the preceding
paragraphs.

140. The Defendants attempted to conduct a physical search involving the Plaintiff on
October 10™ through 11", 2016.

141. The Defendants engaged in malicious and sadistic actions against the Plaintiff
during the attempt to conduct a physical search involving the Plaintiff.

142. The Plaintiff suffered severe physical illness during the Defendants’ conduct of
the physical search involving the Plaintiff.

143. The Plaintiff suffered severe psychological and emotional injury during the
Defendants’ conduct of the physical search involving the Plaintiff.

144. Defendants have violated the Plaintiffs right to be free from cruel and unusual
punishments by attempt to conduct this physical search involving the Plaintiff.

145. Plaintiff has been irreparably harmed by the Defendants’ acts and omissions.

146. Plaintiff will continue to be irreparably harmed by the Defendants’ act and

omissions.

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PRAYER FOR RELIEF
WHEREFORE, the Plaintiff requests that this Court grant the following relief:

A. Declare that the Defendants’ actions in targeting the Plaintiff, or any person
associating with the Plaintiff, with electronic surveillance or physical searches constitute a
violation of the Plaintiff's right to freedom of speech, freedom of association, and to petition the
government for a redress of grievances guaranteed under the U.S. Constitution.

B. Declare that the Defendants’ actions in targeting the Plaintiff with electronic
surveillance and physical searches without any reasonable probable cause constitute a violation
against the protection of the Plaintiff from unreasonable searches and seizures guaranteed by the
Fourth Amendment of the U.S. Constitution.

C. Declare that the Defendants have failed to provide any notice to the Plaintiff of
any information obtained or any physical items seized during electronic surveillance or physical
searches, or any other information with respect to electronic surveillance or physical searches
involving her have violated the Plaintiff's right to due process of law guaranteed under the Fifth
Amendment of the U.S. Constitution.

D. Declare that the Defendants’ engaged in malicious and sadistic actions against the
Plaintiff while attempting to conduct a physical search of the Plaintiff on October 10" through
11", 2016 violated the Plaintiff's right to be free from cruel and unusual punishments
guaranteed under the Eighth Amendment of the U.S. Constitution.

E. Enter an injunction against Defendants and their agents barring them from
conducting electronic surveillance under any applications or orders under Title I of FISA, 50

U'S.C. §§ 1801 ef seq.

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F, Enter an injunction against the Defendants and their agents barring them from

conducting physical searches under Titles III of FISA, 50 U.S.C. §§ 1821 et seq.

G. Enter an injunction against the Defendants and their agents ordering them from
seeking any future orders under Titles I or III of FISA, 50 U.S.C. §§ 1801 ef seg., 1821 et seq.

without reasonable and justifiable probable cause.

H. Award the Plaintiff all reasonable attorney’s fees; and
I. Award all other relief that the Court deems just and proper.
Respectfully submitted,

Chale .

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Plaintiff, pro se

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Fort Leavenworth, KS 66027-2304

NOVEMBER Fra, OIL

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